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15                             UNITED STATES DISTRICT COURT
16                           NORTHERN DISTRICT OF CALIFORNIA

17
     META PLATFORMS, INC., a Delaware                 Misc. Case No. 3:22-mc-80237
18   Corporation headquartered in California,
                                                      Underlying action in United States District
19                                Moving Party,
                                                      Court for the District of Columbia, No. 1:20-cv-
            v.                                        03590-JEB
20

21   ALPHA EXPLORATION CO., INC., d/b/a
     Clubhouse, a Delaware Corporation                META PLATFORMS, INC.’S NOTICE
     headquartered in California                      OF MOTION TO COMPEL
22
                                                      PRODUCTION OF DOCUMENTS
23                                Responding Party.
                                                      Related Case: Klein v. Meta Platforms, Inc., No.
24                                                    3:20-cv-08570-JD (N.D. Cal.)

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                                                  META’S NOTICE OF MOTION TO COMPEL
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 1                                       NOTICE OF MOTION

 2          PLEASE TAKE NOTICE that Moving Party Meta Platforms, Inc. will and hereby does

 3   move the Court to Compel Alpha Exploration Co. Inc., d/b/a Clubhouse to Produce Documents

 4   pursuant to Rule of Civil Procedure 45. This motion relates to only the subpoena served on

 5   Clubhouse for the underlying action brought by the Federal Trade Commission currently pending

 6   before the United States District Court for the District of Columbia. Meta’s subpoena to Clubhouse

 7   in the case, Klein v. Meta Platforms, Inc., No. 3:20-cv-08570-JD (N.D. Cal.) and the
 8   accompanying letter motion to compel will remain before Judge Donato in the Northern District

 9   of California.

10          Meta’s Motion To Compel is based on this Notice of Motion and the accompanying

11   Memorandum of Points and Authorities, any matters of which the Court may take judicial notice,

12   and such other additional information or argument Meta may present at or before the hearing on

13   the Motion. Pursuant to L.R. 37-1, Meta met and conferred three times, on March 14, April 7, and

14   April 14. Meta also requested additional meet and confers, which Clubhouse refused. And the

15   parties exchanged many emails and letters. The parties are at an impasse.

16          For the reasons explained in greater detail in the accompanying Memorandum of Points

17   and Authorities, Clubhouse has documents that are relevant to the claims and defenses in the

18   underlying action and Meta has taken reasonable steps to reduce Clubhouse’s burden to produce
19   such documents. Meta accordingly requests that the Court grant its Motion to Compel and order

20   Clubhouse to conduct resasonable searches (including a targeted set of custodians) for documents

21   responsive to the three categories Meta seeks discovery on, and to produce the responsive

22   documents it finds.

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                                                   META’S NOTICE OF MOTION TO COMPEL
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 1   Dated: September 2, 2022                 Respectfully submitted,

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                                       META’S NOTICE OF MOTION TO COMPEL
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16                           NORTHERN DISTRICT OF CALIFORNIA

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     META PLATFORMS, INC., a Delaware             Misc. Case No. 3:22-mc-80237
18   Corporation headquartered in California,
                                                  Underlying action in United States District
19                                Moving Party,
                                                  Court for the District of Columbia, No. 1:20-cv-
20          v.                                    03590-JEB

21   ALPHA EXPLORATION CO., INC., d/b/a
     Clubhouse, a Delaware Corporation              MEMORANDUM OF LAW IN SUPPORT
22   headquartered in California                    OF MOTION TO COMPEL
                                                    CLUBHOUSE TO PRODUCE
23                                Responding Party. DOCUMENTS
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        MEMORANDUM OF LAW IN SUPPORT OF MOTION TO COMPEL CLUBHOUSE
                                             TO PRODUCE DOCUMENTS
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 1           Meta moves to compel the production of certain documents from non-party Alpha

 2   Exploration Co. (d/b/a Clubhouse). Meta’s motion to compel relates to only the subpoena served

 3   on Clubhouse for the underlying action brought by the Federal Trade Commission currently

 4   pending before the United States District Court for the District of Columbia. Although the

 5   language of the requests for production overlap with requests being moved upon in Meta’s

 6   subpoena to Clubhouse in Klein v. Meta Platforms, Inc., No. 3:20-cv-08570-JD (N.D. Cal.), Meta

 7   has moved on that motion by letter brief separately and that motion will remain before Judge

 8   Donato in the Northern District of California.

 9           Clubhouse is a new competitor launching only in March 2021. 1 It is an online application

10   where users orally communicate with friends and those with shared interests. Within its first year,

11   Clubhouse went viral, racking up millions of downloads, capturing the attention of millions of

12   users, and raising several millions of dollars. 2 It is important to this case: its rapid and recent entry

13   as a competitor to Meta, followed by its amassing of tens of millions of users contradicts the FTC’s

14   allegations that Clubhouse and similar applications do not compete with Meta and that Meta’s

15   alleged conduct created “substantial barriers to entry” that “protect Facebook’s monopoly

16   position,” “eliminate[] nascent rivals” and ensures that “even well-known, sophisticated, and well-

17   financed firms … fail[] to successfully enter the” FTC’s putative market. FTC v. Meta Platforms,

18   Inc., No. 1:20-cv-03590-JEB Dkt. 82 ¶¶ 9, 186. However, instead of working with Meta to produce

19   documents, Clubhouse has engaged in a letter-writing campaign of obfuscation and threats, and it

20   is only after repeated attempts to confer and resolve the issue that Meta must submit this motion

21   and memorandum.

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       See Eric Griffith, What is Clubhouse?, PCMag (Nov. 18, 2021), https://www.pcmag.com/how-
25   to/what-is-clubhouse-app.
     2
       See Eric Rosenbaum, Clubhouse Has ‘Millions More On Waitlist’ After Android Launch: CEO,
26   CNBC (May 25, 2021), https://www.cnbc.com/2021/05/25/clubhouse-has-million-more-on-wait-
     list-after-android-launch-ceo.html (reporting “peak of over 9 million [downloads] in February
27   [2021] … more than 10 million weekly active users … [and] a new round of venture capital valuing
     the company at $4 billion.”
28                                                      -1-
          MEMORANDUM OF LAW IN SUPPORT OF MOTION TO COMPEL CLUBHOUSE
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 1           Meta served its subpoena on Clubhouse six months ago. See Meta Subpoena to Clubhouse,

 2   (Feb. 22, 2022), Gringer Decl. Ex. A. From the start, Meta told Clubhouse that it would work with

 3   the company to reduce any burden. See Email D. Gringer to T. Falzone (Mar. 8, 2022), Gringer

 4   Decl. Ex. B. Since then, Meta has offered to meet and confer eight times, has four times extended

 5   the deadline by which Clubhouse was required to respond to Meta’s subpoenas, and suggested in-

 6   person meetings with counsel for Clubhouse (both the undersigned and Clubhouse’s counsel are

 7   based in NYC). Meta has also provided many examples of the types of documents it would

 8   consider responsive to its requests. In an attempt to work with Clubhouse, Meta has substantially

 9   narrowed its subpoena, categorizing a subset of its requests into four “buckets” and telling

10   Clubhouse that     conducting a reasonably diligent search for documents and producing any

11   responsive documents it found with regard to each bucket would satisfy all requests falling within

12   that bucket.3 See, e.g., Ltr. D. Gringer to B. Margo (Apr. 7, 2022), Gringer Decl. Ex. C; Ltr. D.

13   Gringer to B. Margo (Apr. 22, 2022), Gringer Decl. Ex. D; Ltr. D. Gringer to B. Margo (May 18,

14   2022), Gringer Decl. Ex. E; Ltr. D. Gringer to B. Margo (June 27, 2022), Gringer Decl. Ex. F.

15           But at every turn, Clubhouse refused to engage with Meta, claiming undue burden—

16   notwithstanding having retained a large, international law firm, and having hundreds of millions

17   in funding and a $4 billion valuation. Clubhouse repeatedly demanded that Meta withdraw the

18   subpoenas in full, insisted that Meta preemptively assume any costs incurred by Clubhouse, and

19   threatened sanctions if Meta did not comply with its demands. See Ltr. B. Margo to D. Gringer

20   (Apr. 6, 2022), Gringer Decl. Ex. G; Ltr. B. Margo to D. Gringer (Apr. 15, 2022), Gringer Decl.

21   Ex. H; Ltr. B. Margo to D. Gringer (Apr. 29, 2022), Gringer Decl. Ex. I; Ltr. B. Margo to D.

22   Gringer (May 2, 2022), Gringer Decl. Ex. J. That same law firm has filed motions to compel

23   against non-parties in another antitrust litigation in the district overseeing this case, explaining that

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     3
      One of the four categories (Category 2, regarding Clubhouse’s Policies or Practices Surrounding
26
     Paying for User Data) involved information specific to allegations made in the Klein v. Meta
27   Platforms, Inc. case pending in the North District of California. Because those claims are not made
     by the FTC, Meta does not move to compel Clubhouse’s response to that category here.
28                                                      -2-
          MEMORANDUM OF LAW IN SUPPORT OF MOTION TO COMPEL CLUBHOUSE
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 1   such “sharp-elbowed negotiation tactics” are plainly inappropriate. United States v. Google LLC,

 2   No. 1:20-cv-03010-APM, Dkt. 245 at 10.

 3           After months of delay, Clubhouse finally agreed to search for and produce documents

 4   responsive to Meta’s four categories. See Email B. Margo to D. Gringer (June 3, 2022), Gringer

 5   Decl. Ex. K. Three weeks later, Clubhouse made a final take-it-or-leave-it offer, reporting it had

 6   identified only 13 documents, but refused to produce them immediately and demanded Meta pay

 7   Clubhouse tens of thousands of dollars in fees before it produced anything (though Clubhouse has

 8   provided no evidence regarding whether the fees are significant or even that they were incurred in

 9   complying with the subpoenas). See Email B. Margo to S. Hershman (June 28, 2022), Gringer

10   Decl. Ex. L; cf. Hyundai Motor Am., Inc. v. Pinnacle Grp., LLC, 2016 WL 6208313, at *2 (C.D.

11   Cal. Apr. 20, 2016) (denying fees where non-party provided “no information concerning its book

12   of business that would enable the Court to find that the … costs it is requesting is a ‘significant

13   expense for it.’”). As Clubhouse’s own counsel has recognized in other antitrust cases, the scope

14   of Clubhouse’s production is obviously deficient and its claimed expenses are no basis to refuse

15   to search for and produce documents. United States v. Google LLC, No. 1:20-cv-03010-APM,

16   Dkt. 240 (D.D.C. Oct. 14, 2021) (explaining that the production from Yelp—with a valuation less

17   than half the size of Clubhouse—of a “mere 10,000 documents” in response to subpoenas was

18   obviously insufficient, and the claimed expense of $55,000 to add another custodian was not

19   significant).

20           The Court should (1) order Clubhouse to produce the responsive documents it has already

21   identified and previously offered to produce; (2) require Clubhouse to describe the searches it has

22   conducted thus far; and (3) require Clubhouse to conduct additional reasonable and targeted

23   searches (including in relevant custodial files) for other documents responsive to three of Meta’s

24   four categories. The court should also deny any request for costs as unwarranted and premature.

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         MEMORANDUM OF LAW IN SUPPORT OF MOTION TO COMPEL CLUBHOUSE
                                              TO PRODUCE DOCUMENTS
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 1   I.       BACKGROUND

 2            A.     The FTC’s Novel Enforcement Action

 3            The FTC brought a sweeping antitrust case against Meta based on a novel and remarkable

 4   theory that long-ago acquisitions the FTC reviewed but did not challenge are anticompetitive. The

 5   FTC requests an unprecedented order forcing Meta to divest important lines of business years after

 6   the FTC cleared Meta to acquire those lines of business.

 7            In order to prove its claim under Section 2 of the Sherman Act, the FTC must prove (1) the

 8   existence of a relevant antitrust market; (2) that Meta possesses monopoly power in that market;

 9   and (3) that Meta willfully maintained that power through “exclusionary conduct.” FTC v.

10   Facebook, Inc., 560 F. Supp. 3d 1, 12 (D.D.C. 2021) (“Facebook I”).

11            The FTC alleges that Meta competes in what the FTC calls the personal social networking

12   services (“PSNS”) market. As the Court overseeing the D.D.C. case has recognized, PSNS is an

13   “idiosyncratic[ ]” and “nonintuitive,” market. Facebook I, 560 F. Supp. 3d at 4, 14, 16-17, 20. It

14   excludes countless competitors that Meta competes vigorously with, such as Clubhouse, and in

15   Meta’s view, does not reflect commercial reality.

16            As for market power, the FTC alleges that Meta has greater than 60% of the PSNS market

17   by relying on data capturing the time users spent on a small selection of apps the FTC also deemed

18   PSNS services. See FTC Am. Compl. ¶ 198. And the FTC alleges that network effects and high

19   switching costs prevent other firms from entering the market to compete with Meta. See id. ¶ 212.

20            Since offering a service that many users enjoy is not illegal, the FTC further alleges that

21   Meta engaged in anticompetitive conduct when it acquired Instagram in 2012 and WhatsApp in

22   2014—even though the FTC itself contemporaneously cleared both of those acquisitions under the

23   Hart-Scott-Rodino Antitrust Improvements Act of 1976. To support its claim, the FTC alleges that

24   third parties view the acquisitions as anticompetitive. See FTC v. Facebook, Inc., 2022 WL

25   103308, at *1, *12 (D.D.C. Jan. 11, 2022) (“Facebook II”); FTC Am. Compl. ¶¶ 97, 124.

26            Because Meta’s apps are free to users, the FTC cannot claim that Meta’s acquisitions of

27   Instagram and WhatsApp increased prices, which is the usual method of proving the

28                                                    -4-
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 1   anticompetitive effect of an acquisition. See Facebook II, 2022 WL 103308, at *12-13. Instead,

 2   the FTC has asserted the novel theory—that, but for the acquisitions, Meta and its competitors

 3   would have offered products of better quality, including with respect to privacy. See id. (noting

 4   that, because Meta’s services are free, the FTC “has not[] and could not[] allege harm in the

 5   archetypal form of increased consumer prices,” and instead relied on decreases in innovation and

 6   quality as it relates to privacy, data protection, and advertising practices).

 7           The FTC seeks the extraordinary remedy of the divestiture of Instagram and WhatsApp.

 8   FTC Am. Compl. § XI(B).

 9           B.      Meta’s Subpoena to Clubhouse

10           Meta subpoenaed Clubhouse on February 22, 2022. See Meta Subpoena to Clubhouse,

11   Gringer Decl., Ex. A. From the start, Meta assured Clubhouse’s general counsel that it would work

12   to alleviate any undue burden on Clubhouse. See Email D. Gringer to T. Falzone (Mar. 8, 2022),

13   Gringer Decl., Ex. N. But while Meta sought to engage with Clubhouse to discuss priorities and a

14   reasonable narrowing of particular requests by consolidating the subpoena into four “buckets,”

15   Clubhouse rejected each proposal and demanded only that Meta withdraw the subpoenas in full or

16   else Clubhouse would “seek appropriate sanctions.” Compare Ltr. D. Ginger to B. Margo at 2

17   (Apr. 7, 2022), Gringer Decl. Ex. C, with Ltr. B. Margo to D. Gringer at 1-2 (Apr. 15, 2022),

18   Gringer Decl. Ex. H.

19           Each time Meta rearticulated its proposal, it was met with further obstruction from

20   Clubhouse, which called Meta’s “proposal … not at all productive” (Gringer Decl. Ex. H), and

21   refused to meet and confer with Meta, opting to engage only “by written communication,” (Gringer

22   Decl. Ex. I). After months of obstinance, Clubhouse finally agreed to produce a total of

23   13 documents responsive to the four categories it claimed to have been “diligently pursuing,” but

24   only if Meta would “confirm that [it] will compensate Clubhouse for its attorneys’ fees” totaling

25   at most $15,000. See Gringer Decl. Ex. L.

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                                              TO PRODUCE DOCUMENTS
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 1           Meta has requested that Clubhouse provide a description of the searches it has run and

 2   produce all of the documents it has found without condition. However, Clubhouse has consistently

 3   refused to discuss the parameters of its search, and the parties are at impasse.

 4   II.     DISCOVERY FROM CLUBHOUSE IS WARRANTED

 5           The non-party discovery that Meta seeks from Clubhouse is warranted. First, permissible

 6   discovery in antitrust cases is uniquely broad because of the nature of antitrust claims. In re Static

 7   Random Access Memory (SRAM) Antitrust Litig., 257 F.R.D. 580, 586 (N.D. Cal. 2009); Markson

 8   v. CRST Int’l, Inc., 2WL 4027499, at *5 (C.D. Cal. May 14, 2021). The D.D.C. Court overseeing

 9   the underlying case has recognized that this important and complex case will require extensive

10   discovery of non-parties such as Clubhouse. 4 And relevant non-parties routinely produce discovery

11   in antitrust cases of similar scope and complexity to this one. See, e.g., 10/28/21 Status Conf. Tr.

12   17:7-12, United States v. Google LLC, No. 1:20-cv-03010-APM, Dkt. 249 (D.D.C. Oct. 29, 2021)

13   (Microsoft “has produced over 1.2 million documents”); Samsung Position Statement at 7-8,

14   United States v. Google LLC, No. 1:20-cv-03010-APM, Dkt. 244 (D.D.C. Oct. 22, 2021)

15   (discussing process to review 1.5 million Samsung documents captured by search terms); Status

16   Report at 1, FTC v. Qualcomm Inc., No. 5:17-cv-00220-LHK, Dkt. 663 (N.D. Cal. Mar. 30, 2018)

17   (“Apple has produced more than 4.1 million documents totaling over 37 million pages”). 5

18           Second, the discovery Meta seeks is highly relevant to defending against the FTC’s claims

19   of market power and exclusionary conduct. The FTC claims that Meta has monopoly power in a

20   gerrymandered PSNS market—a term industry participants do not use. According to the FTC,

21   Clubhouse does not compete with Meta in the PSNS market, nor is it a substitute for Meta’s

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     4
       See 2/28/2022 Case Mgmt. Conf. Tr. 4:17-21, FTC v. Meta Platforms, Inc., No. 1:20-cv-03590-
23   JEB, Dkt. 109 (D.D.C. Mar. 8, 2022) (“2/28/2022 FTC v. Meta Case Mgmt. Conf. Tr.”) (“[T]here
     is a lot of third-party discovery that needs to take place[.]”); id. at 3:2-23 (“[T]his is a big case,
24   one of the most complex and involved cases that I’ve had.”).
25
     5
       See also United States v. AT&T Inc., 2011 WL 5347178, at *5-7 (D.D.C. Nov. 6, 2011) (denying
     motion to quash subpoena despite compliance entailing producing roughly 440,000 pages of
26   documents); Northrop Corp. v. McDonnell Douglas Corp., 751 F.2d 395, 404 (D.C. Cir. 1984)
     (vacating order quashing subpoena based on failure to establish that searching more than 900 cubic
27   feet of hard-copy documents would be unduly burdensome, despite noting that scope of request
     was “extraordinary”).
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 1   services. The FTC excludes countless other obvious competitors, including TikTok, Twitter,

 2   YouTube, LinkedIn, and nearly 200 others that have publicly identified Meta as a competitor.

 3   Clubhouse’s rapid growth also refutes the FTC’s claim that Meta’s market position is protected by

 4   barriers to entry that prevent competition.

 5            Third, the stakes of this case are significant. For the first time in history, the FTC seeks to

 6   divest important lines of business (worth billions of dollars), stemming from acquisitions it

 7   previously reviewed and cleared. It has devoted significant resources to the case, conducting an

 8   18-month pre-complaint investigation, in which it received over 12 million pages of documents

 9   from Meta, took testimony from 18 senior Meta employees (totaling 150 hours), interviewed or

10   sought to interview 85 non-parties, and collected additional documents and testimony from non-

11   parties. It has expanded on those efforts since the lawsuit began, serving expansive discovery on

12   Meta, requiring Meta to review over four million documents from roughly one hundred custodians.

13   And it has subpoenaed many non-parties, including Clubhouse, seeking the same categories of

14   documents that are at issue in this motion, and many more.

15            Clubhouse’s “[non]-party status does not confer [on it] a right to obfuscation or obstinacy.”

16   Apple, Inc. v. Samsung Elecs. Co., 2013 WL 1942163, at *1 (N.D. Cal. May 9, 2013). As a non-

17   party, Clubhouse is expected to cooperate in discovery and produce responsive documents. Id.;

18   see also In re Apple iPhone Antitrust Litig., 2021 WL 718650, at *1-3 (N.D. Cal. Feb. 24, 2021).

19   Clubhouse is also obligated to conduct reasonable searches and describe the custodians and search

20   terms it runs (if any). See Apple, Inc., 2013 WL 1942163, at *3 (requiring disclosure of custodians

21   and search terms to “uncover[] sufficiency of [non-party’s] production”); Rogers v. Giurbino, 288

22   F.R.D. 469, 485 (S.D. Cal. 2012) (requiring party to “state with sufficient specificity” the

23   reasonable inquiry conducted).

24   III.     META’S SUBPOENA SEEKS CRITICAL RELEVANT INFORMATION FROM CLUBHOUSE

25            The documents Meta seeks are highly relevant. Clubhouse agreed to search for and produce

26   documents responsive to the four categories in Meta’s proposal (described below). The Court

27   should enforce that agreement with respect to there of those categories because Clubhouse’s rapid

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 1   entry as an important competitor to Meta is relevant to demonstrating that the FTC’s market

 2   definition—which excludes Clubhouse and companies like it—is not grounded in commercial

 3   reality.

 4              Category 1: Competitive Landscape (RFP Nos. 2, 5, 15)

 5              The first category seeks documents regarding Clubhouse’s views on competition and

 6   comparisons between Clubhouse’s products and features that compete with Meta, which are

 7   certainly relevant to this antitrust case. Clubhouse allows its users to connect and broadcast content

 8   via live audio rooms, to message each other directly, and check in with friends who are online, and

 9   it generally serves as a tool for users and their friends to connect and share their interests. 6

10   Clubhouse’s views on competition and the competitive landscape are thus highly relevant to the

11   FTC’s allegations about competition and purported barriers to entry. As the Supreme Court

12   explained in Brown Shoe Co. v. United States, 370 U.S. 294 (1962), the “boundaries” of an antitrust

13   market may be determined by examining” a set of “practical indicia including” (among others)

14   “industry or public recognition.” As a result, courts “regularly take account of industry

15   participants’ perspectives on who their competitors are in order to shed light on the

16   interchangeability of the products they offer.” Delco LLC v. Giant of Md., LLC, 2007 WL 3307018,

17   at *17 (D.N.J. Nov. 8, 2007).7 And courts often compel such non-party discovery on market

18   definition. See In re Apple iPhone Antitrust Litig., 2021 WL 718650, at *1-3 (N.D. Cal. Feb. 24,

19
     6
20    Introducing Backchannel, Clubhouse’s New Messaging System, CLUBHOUSE (January 14, 2021),
     https://blog.clubhouse.com/introducing-backchannel (direct messaging); Say Hello to Wave,
21   CLUBHOUSE (Sept. 23, 2021), https://blog.clubhouse.com/wave-clubhouse-new-feature (connect
     with friends).
22
     7
       See also United States v. Cont’l Can Co., 378 U.S. 441, 454-55 & n.7 (1964) (reciting evidence
23   from non-party competitors regarding market definition); FTC v. Thomas Jefferson Univ., 505 F.
     Supp. 3d 522, 536-37 (E.D. Pa. 2020) (citing evidence from several industry participants in
24   market-definition discussion); United States v. Oracle Corp., 331 F. Supp. 2d 1098, 1152 (N.D.
25   Cal. 2004) (citing internal email from third-party competitor’s CEO to support point regarding
     market definition); United States v. Sungard Data Sys., Inc., 172 F. Supp. 2d 172, 183 (D.D.C.
26   2001) (rejecting government’s market definition, citing “conflicting evidence relating to customer
     perceptions and practices”); Epic Games, Inc. v. Apple Inc., 559 F. Supp. 3d 898, 995, 1020 (N.D.
27   Cal. 2021) (citing testimony from various non-party industry participants), appeals pending, No.
     21-16506 (9th Cir. filed Sept. 13, 2021) & No. 21-16695 (9th Cir. filed Oct. 14, 2021).
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 1   2021) (compelling discovery relevant to market definition); AT&T, 2011 WL 5347178, at *3-4, *7

 2   (ordering discovery from non-party competitor relating to market definition). 8 The courts in the

 3   FTC and Klein actions have likewise recognized that the FTC’s and private plaintiffs’ market

 4   definitions—particularly in these cases—puts non-party discovery about industry views of

 5   competition squarely at issue. See Klein v. Facebook, Inc., 2022 WL 141561, at *7, *13 (N.D. Cal.

 6   Jan. 14, 2022) (“[S]tatements by companies explaining which products they see as competitors for

 7   their own products are highly probative.”); see id. at *8 (discussing third-party evidence’s role in

 8   a market definition precedent).

 9           Notwithstanding the central relevance of this information, Clubhouse has refused to

10   conduct any custodial searches, and has produced just two reports, relating to competition, even

11   though it has conceded it competes with Facebook, Instagram, and many companies that the FTC

12   says are not within the ambit of its PSNS market.. Given Clubhouse’s self-proclaimed “massive

13   store of documents,” its explosive growth, and its view of Meta as a competitor, it is inconceivable

14   that only two responsive documents exist. And Clubhouse’s refusal to conduct any searches in

15   custodial files that are likely to have responsive documents is not justified. See Ltr. Ben Margo to

16   David Gringer at 3 (Apr. 6, 2022), Gringer Decl. Ex. G. Nonparties in antitrust cases of similar

17   scope and complexity routinely conduct custodial searches at a much larger scale than Meta is

18   seeking here, and courts routinely require non-parties to conduct those searches. See supra p. 6;

19   see also, e.g., V5 Techs. v. Switch, Ltd., 332 F.R.D. 356, 367 (D. Nev. 2019) (compelling non-

20   party individual in antitrust case to conduct custodial email searches); In re EpiPen Mktg., Sales

21   Practice & Antitrust Litig., 2018 WL 3240981, at *3 (D. Kan. July 3, 2018) (ordering production

22   of emails that might “reveal direct internal communications not found elsewhere”); Tera II, LLC

23   v. Rice Drilling D, LLC, 2022 WL 1114943, at X (S.D. Ohio Apr. 14, 2022) (compelling non-party

24   to perform custodial search); Aquastar Pool Prods., Inc. v. Paramount Pool & Spa Sys., 2019 WL

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      FTC v. Thomas Jefferson Univ., 2020 WL 3034809, at *1-3 (E.D. Pa. June 5, 2020) (similar); In
27   re Ranbaxy Generic Drug Application Antitrust Litig., 2020 WL 5370577, at *3-4 (D. Mass. Sept.
     8, 2020) (similar).
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 1   250429 at *3 (D. Ariz. Jan. 17, 2019) (same); Sasol N.A., Inc. v. Kan. State Inst. for

 2   Commercialization, 2014 WL 3894357, at *6 (D. Kan. Aug. 8, 2014) (same).

 3          In addition to refusing to conduct standard custodial searches, Clubhouse refuses to

 4   describe the search it has performed. This is improper. Apple, Inc., 2013 WL 1942163, at *3

 5   (requiring cooperation over custodians and search terms to “uncover[] sufficiency of [non-party’s]

 6   production”). Nor is this category of requests burdensome—it seeks ordinary business

 7   communications and documents discussing the competitive landscape and product features—and

 8   it is plainly relevant. Given its relevance, Meta requests the Court compel Clubhouse to produce

 9   the documents it has found and to conduct targeted custodial searches of employees involved in

10   competitive decision-making for documents responsive to this category.

11          Category 3: Privacy/Data Collection Policies and Practices (RFP No. 10)

12          Meta sought Clubhouse’s privacy policies (Clubhouse produced nine, comprising nine of

13   the 13 documents produced), and documents regarding its strategic approach to implementing

14   those policies. When Meta requested that Clubhouse search for and produce documents regarding

15   its privacy practices, Clubhouse equivocated, refusing to conduct additional searches unless “Meta

16   will [] pay for any resulting costs.” See Email B. Margo to S. Hershman (July 21, 2022), Gringer

17   Decl. Ex. M. The information Meta seeks addresses a premise of the FTC’s other far-fetched

18   theory of competitive injury:       that Meta’s “acquisition and control of Instagram [and

19   WhatsApp] … deprive[d] users of the benefits of competition from an independent [competitor]”

20   that would create a “check on Facebook[‘s] [] treatment of and level of service offered to users,

21   including … [the] level of privacy.” FTC Dkt. 82 ¶¶ 105, 127.

22          Documents regarding Clubhouse’s privacy policies and practices and views on whether its

23   privacy practices create a competitive advantage relate to Meta’s defense—they are pertinent to

24   testing the FTC’s theories that competition drives improved privacy and that Meta’s privacy

25   policies and practices are below competitive levels. In light of the FTC’s novel attempt to use

26   reduction in privacy as a proxy for competitive harm in lieu of increased prices, these documents

27   are no different than “documents relating to price, costs, and customers” that are “at the heart of

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 1   … any … [ordinary] antitrust proceeding,” Quadrozzi v. City of New York, 127 F.R.D. 63, 75

 2   (S.D.N.Y. 1989), and that are routinely required to be produced by non-parties. See, e.g., In re

 3   Apple iPhone Antitrust Litig., 2021 WL 718650, at *1-*3 (N.D. Cal. Feb. 24, 2021) (compelling

 4   non-party to produce information relating to price, costs, and customers, among other things, since

 5   such information is relevant to “market definition” and the “effects of competition.”). Clubhouse’s

 6   documents relating to these subjects are likely to be especially relevant in light of its rapid growth,

 7   and in the face of public reporting accusing the company of inadequately protecting user data. 9

 8           The Court should compel Clubhouse to search for additional documents relating to its

 9   privacy practices and policies and to produce responsive documents it finds.

10           Category 4: Time Spent/User Engagement Data (RFP Nos. 3, 4)

11           Meta seeks user engagement metrics that Clubhouse tracks to rebut the FTC’s market-

12   definition and market-power theories and calculations. The FTC seeks to calculate market share

13   using those metrics. See FTC Dkt. 82 ¶ 190. Clubhouse has said it tracks Daily and Monthly Active

14   User counts (“DAU” and “MAU”) and produced this data. Meta asked repeatedly if Clubhouse

15   tracked any other user engagement metrics (e.g., time spent using the app). While DAU and MAU

16   are metrics that Meta sought, they do not sufficiently respond to its requests for other engagement

17   metrics that may be more detailed allowing Meta to assess how Clubhouse competes for a user’s

18   time and attention. And it appears that Clubhouse may track at least time spent data. 10 Yet,

19   Clubhouse refused to respond. User engagement data is relevant because the FTC claims that

20   Meta’s alleged monopoly captured, and allowed it to unfairly profit off of, users’ time and

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             See Barry Collins, Clubhouse: The Hot New Social Network Has Big Privacy Problems,
22   Forbes (Feb. 10, 2021), https://www.forbes.com/sites/barrycollins/2021/02/10/clubhouse-the-hot-
23   new-social-network-has-big-privacy-problems/?sh=2f24321ce4c3; Sara Morrison, You’ve Been
     Invited    To       Clubhouse.     Your     Privacy     Hasn’t,    Vox      (Feb.     22,     2021),
24   https://www.vox.com/recode/22278601/clubhouse-invite-privacy-contacts-app (“Clubhouse has
     millions of users, and privacy issues are starting to emerge … including a recent incident in which
25   chats on the closed platform were streamed to a third-party website.”); (Cable et al., Clubhouse in
     China: Is the Data Safe?, STANFORD INTERNET OBSERVATORY (Feb. 12, 2021),
26
     https://cyber.fsi.stanford.edu/io/news/clubhouse-china.
27   10
       Rosenbaum, supra note 2 (“Clubhouse reports … people are spending over an hour a day on the
     app.”).
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 1   attention. See, e.g., FTC Dkt. 82 ¶ 60 (“a competitor could offer an advertisement-free business

 2   model, [which Clubhouse does, 11 and] which could undermine Facebook’s ability to monetize user

 3   attention.”). If Clubhouse does not track other engagement metrics, it must so state; otherwise, this

 4   Court should order Clubhouse to produce responsive data.

 5   IV.     CLUBHOUSE IS NOT ENTITLED TO FEES

 6           Clubhouse’s demand that it be compensated for unspecified and unsupported costs before

 7   producing documents is wrong. Cost-shifting can only be appropriate in limited circumstances

 8   after a party has complied with a subpoena, after they have demonstrated that the expenses incurred

 9   were “significant,” and after the party seeking costs has demonstrated that the requested fees are

10   reasonable. Fed. R. Civ. P. 45(d)(2(B)(ii), advisory committee notes to 1991 amendments

11   (preference “to leave uncertain costs to be determined after the materials have been produced”).

12   Clubhouse has not yet complied with the subpoena. Further, it is Clubhouse’s burden to

13   demonstrate that “all of their requested attorney’s fees are reasonable,” and that those “significant

14   expenses result[ed] from compliance.” See United States v. McGraw-Hill Cos., Inc., 302 F.R.D.

15   532, 536-37 (C.D. Cal. 2014) (“[Unnecessary or unduly expensive services do not ‘result from

16   compliance.’”). Given its minimal productions to date, Clubhouse does not appear to have incurred

17   significant costs, and the amount Clubhouse is demanding as compensation does not appear to

18   have been incurred in complying with the subpoena, considering the comparative focus placed on

19   resisting compliance through a letter-writing campaign. Furthermore, Clubhouse’s resources

20   render insignificant any costs incurred from compliance thus far. See Hyundai Motor Am., Inc. v.

21   Pinnacle Grp., LLC, 2016 WL 6208313, at *2 (C.D. Cal. Apr. 20, 2016) (“the Court has no basis

22   for finding that [non-party] has incurred ‘significant expense’ … [for] the $12,087.70 in costs it is

23   requesting.”). And regardless, Clubhouse’s demands to date are premature. The Court should not

24   shift Clubhouse’s costs to Meta.

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       Steve Weiss, Why Marketers Should Be Paying Attention To Clubhouse, FORBES (Apr. 15,
27   2021), https://www.forbes.com/sites/forbesagencycouncil/2021/04/15/why-marketers-should-be-
     paying-attention-to-clubhouse/?sh=1b28cb9a7b1c (“There is no paid advertising on Clubhouse.”).
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 1                                          CONCLUSION

 2          Clubhouse’s obstinacy should not be rewarded. The Court should compel Clubhouse to

 3   conduct reasonable searches (including a targeted set of custodians) for documents responsive to

 4   Categories 1, 3, and 4 Meta seeks discovery on, and the Court should compel Clubhouse to produce

 5   the responsive documents it finds.

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